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                        ,17+(81,7('67$7(6',675,&7&2857
                         )257+(:(67(51',675,&72)7(;$6
                                   $867,1',9,6,21

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'()(16(',675,%87('DQG6(&21'                        
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              Plaintiffs,                            
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                      YV                            &DVH1R&9
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*85%,5*5(:$/LQKLVRIILFLDOFDSDFLW\DV         
                                                       
WKH6WDWHRI1HZ-HUVH\¶V$WWRUQH\*HQHUDO            
0,&+$(/)(8(5LQKLVRIILFLDOFDSDFLW\DVWKH     
&LW\RI/RV$QJHOHV&DOLIRUQLD¶V&LW\$WWRUQH\   
$1'5(:&8202LQKLVRIILFLDOFDSDFLW\DV          
WKH6WDWHRI1HZ<RUN¶V*RYHUQRU0$77+(:          
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'(11LQKLVRIILFLDOFDSDFLW\DVWKH6WDWHRI
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'HODZDUH¶V$WWRUQH\*HQHUDO-26+6+$3,52         
LQKLVRIILFLDOFDSDFLW\DVWKH&RPPRQZHDOWKRI    
3HQQV\OYDQLD¶V$WWRUQH\*HQHUDODQG7+20$6        
:2/)LQKLVRIILFLDOFDSDFLW\DVWKH              
&RPPRQZHDOWKRI3HQQV\OYDQLD¶V*RYHUQRU          
                                                    
              Defendants.                          

    '()(1'$176*85%,56*5(:$/$1'0$77+(:'(11¶6027,2172
    ',60,6638568$1772)('(5$/58/(62)&,9,/352&('85( E  
        E   E  $1' E  $1'86& D $1' F  




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                                                     7$%/(2)&217(176

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          %        3ODLQWLIIV+DYH1RW$OOHJHGWKH5HTXLVLWH&DXVDO&RQQHFWLRQ%HWZHHQDQ
                     $OOHJHG,QMXU\DQGWKH1-$*¶VRUWKH'$*¶V&RQGXFW

          &        3ODLQWLIIV¶$OOHJHG,QMXULHVDUH1RW5HGUHVVDEOH

,,,     7KLV&RXUW6KRXOG$OVR'LVPLVVWKH&RPSODLQW8QGHU)5&3 E  IRU)DLOXUH
          WR6WDWHD&ODLP

          $        3ODLQWLIIV)DLOWR$GHTXDWHO\$OOHJHWKH'HSULYDWLRQRI$Q\&RQVWLWXWLRQDO
                     5LJKWV8QGHU86&

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          %        3ODLQWLIIV¶7RUWLRXV,QWHUIHUHQFHZLWK&RQWUDFW&ODLPV)DLODVD0DWWHURI
                     /DZ

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                                                 7$%/(2)$87+25,7,(6

                                                                  &DVHV

Air Line Pilots Ass’n, Int’l v. UAL Corp.
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Already, LLC v. Nike, Inc.
  86  

Arizonans for Official English v. Arizona
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Beeler v. Rounsavall
  )G WK&LU 

Biven ex rel. Ky. v. Stewart
  1R&9*)97:/ ('.\$XJ 

Broadrick v. Oklahoma
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Camden Cty. Bd. Of Chosen Freeholders v. Beretta U.S.A. Corp.
  )6XSSG '1- 

Clapper v. Amnesty Int’l USA
  86  

Commodity Futures Trading Comm’n v. Vartuli
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Daimler AG v. Bauman
  86  

District of Columbia v. Heller
  86  

Fletcher v. Haas
  )6XSSG '0DVV 

Giboney v. Empire Storage & Ice. Co.
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Greer v. W. Virginia
  1RFY:/ 1':9D-XO\ aff’d)$SS¶[
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H.P. Hood & Sons, Inc. v. Du Mond
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Kassel v. Consol. Freightways Corp. of Del.
  86  

Levingston v. T G C Indus., Inc.
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Lujan v. Defenders of Wildlife
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Monkton Ins. Services, Ltd. v. Ritter
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Muncy v. City of Dallas, Tex
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Munn v. Ocean Springs, Miss
 )G WK&LU 

N.Y. State Rifle & Pistol Ass’n v. City of New York
  )G G&LU 

Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives
  )G WK&LU 

Nat’l Treasury Employees Union v. U.S. Dep’t of Treasury
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Parude v. City of Natchez
  )HG$SS¶[ WK&LU 

Paul v. Davis
  86  

Prudential Ins. Co. of Am. v. Fin. Review Services, Inc.
  6:G 7H[ 

Simon v. E. Ky. Welfare Rights Org.
  86  

State of Michigan v. Meese
  )G WK&LU 

Stroman Realty, Inc. v. Wercinski
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United States v. Alvarez
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United States v. Irving
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United States v. Richards
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Warth v. Seldin
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Washington, et al. v. U.S. Dep’t of State, et al.
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Wayte v. United States
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Wendt v. 24 Hour Fitness USA, Inc.
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                                                         5XOHVDQG5HJXODWLRQV

)HGHUDO5XOHVRI&LYLO3URFHGXUH
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                                                            2WKHU$XWKRULWLHV

(PPD3ODWRIIDQG.DWKU\Q/XQGVWURPBlocked from giving away 3D-printed gun
  blueprints, Texas man says he’s selling them instead7+(7(;$675,%81( $XJ
   

Meet the man who might have brought on the age of ‘downloadable guns,’7+(
 :$6+,1*7213267 -XO\ 

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          7KH1HZ-HUVH\$WWRUQH\*HQHUDO*XUELU6*UHZDO ³1-$*´ DQGWKH'HODZDUH

$WWRUQH\*HQHUDO0DWWKHZ'HQQ ³'$*´ KHUHE\PRYHIRUGLVPLVVDORIWKHFODLPVDVVHUWHG

DJDLQVWWKHPSXUVXDQWWR)HGHUDO5XOHVRI&LYLO3URFHGXUH E   E   E  DQG

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GHYHORSDQGVHHNWRZLGHO\GLVVHPLQDWHDUHHOHFWURQLFILOHVIRUWKHGLUHFW'SULQWLQJRIJXQV²

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Washington, et al. v. U.S. Dep’t of State, et al.)6XSSG :':DVK 

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 WUDQVSRUWDWLRQRIDILUHDUPZLWKRXWDVHULDOQXPEHURUZKRVHRULJLQLVRWKHUZLVHXQFOHDUSee

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         %HFDXVH'HIHQVH'LVWULEXWHG¶VZLGHVSUHDGGLVVHPLQDWLRQRI'SULQWDEOHILUHDUPILOHV

 SRVHGDGLUHFWDQGLPPHGLDWHWKUHDWWRSXEOLFKHDOWKDQGVDIHW\WKH1-$*WKH'$*DQGRWKHU

 $WWRUQH\V*HQHUDOVHQWFHDVHDQGGHVLVWOHWWHUVWR'HIHQVH'LVWULEXWHGLQGLFDWLQJWKDWWKH\

 ZRXOGLQLWLDWHOHJDODFWLRQWRSUHYHQWSXEOLFDWLRQRIWKHLU'SULQWDEOHILUHDUPILOHVSee, e.g.

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 QRWDOOHJHRWKHUZLVH

        3ODLQWLIIVILOHGWKHLQVWDQWDFWLRQLQWKLV&RXUWRQ-XO\MXVWDVVRPH$WWRUQH\V

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 DWUXHLQWHUHVWLQUHVROYLQJPDWWHUVWKDWVRGLUHFWO\LPSDFWWKHKHDOWKDQGVDIHW\RIWKHLUFLWL]HQV

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 WKH6WDWH'HSDUWPHQWIURPLPSOHPHQWLQJFHUWDLQWHUPVRIWKH6HWWOHPHQW$JUHHPHQWVSHFLILFDOO\

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 :LOVRQWRUHIUDLQIURPXSORDGLQJDQ\DGGLWLRQDO'SULQWDEOHILUHDUPILOHVWRWKHLUZHEVLWHVDQG
 WREORFNDFFHVVWRVXFKZHEVLWHVIURP1HZ-HUVH\,3DGGUHVVHVGXULQJWKHSHQGHQF\RIWKH
 DFWLRQ2Q$XJXVW'HIHQVH'LVWULEXWHGDQG&RG\:LOVRQUHPRYHGWKH1-$*$FWLRQ
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 WHUPLQDWHGZLWKRXWSUHMXGLFHSHQGLQJFRQFOXVLRQRIWKHSURFHHGLQJVLQWKH:DVKLQJWRQ$FWLRQ


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 SXEOLFDWLRQRI'SULQWDEOHILUHDUPILOHV2Q$XJXVWWKH'LVWULFW&RXUWLVVXHGD

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         8QGHU)HGHUDO5XOHRI&LYLO3URFHGXUH E  WKHSODLQWLIIEHDUVWKHEXUGHQRIPDNLQJ

 DprimafacieVKRZLQJWKDWSHUVRQDOMXULVGLFWLRQLVSURSHUE.g., Monkton Ins. Services, Ltd. v.

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 SODLQWLIIPXVWVKRZWKDWWKHQRQUHVLGHQWGHIHQGDQWµSXUSRVHO\DYDLOHG>LWVHOI@RIWKHEHQHILWVDQG

 SURWHFWLRQVRIWKHIRUXPVWDWHE\HVWDEOLVKLQJµPLQLPXPFRQWDFWV¶ZLWKWKHIRUXPVWDWH´Id.

  FLWDWLRQRPLWWHG ³6XIILFLHQWPLQLPXPFRQWDFWVZLOOJLYHULVHWRHLWKHUVSHFLILFRUJHQHUDO

 MXULVGLFWLRQ´Id.  FLWDWLRQRPLWWHG 3ODLQWLIIVFDQHVWDEOLVKQHLWKHUKHUH

         $VWKH6XSUHPH&RXUWKDVH[SODLQHGWKHTXHVWLRQIRUJHQHUDOMXULVGLFWLRQLVZKHWKHUWKH

 GHIHQGDQW¶V³µDIILOLDWLRQVZLWKWKH6WDWHDUHVRµFRQWLQXRXVDQGV\VWHPDWLF¶DVWRUHQGHU>LW@

 HVVHQWLDOO\DWKRPHLQWKHIRUXP6WDWH¶´Daimler AG v. Bauman86  

  FLWDWLRQRPLWWHG +HUHWKH)$&FRQFHGHVDVLWPXVWWKDWWKH1-$*DQGWKH'$*DUHERWK

 RXWRIVWDWHUHVLGHQWVDQGLWFRQWDLQVQRDOOHJDWLRQVRIDQ\³FRQWLQXRXVDQGV\VWHPDWLF´

 DIILOLDWLRQVZKLFKZRXOGUHQGHUWKH1-$*RUWKH'$*³DWKRPH´LQ7H[DV

         :LWKUHVSHFWWRVSHFLILFMXULVGLFWLRQ WKH)LIWK&LUFXLWDSSOLHVDWKUHHVWHSDQDO\VLV³  

 ZKHWKHUWKHGHIHQGDQWKDVPLQLPXPFRQWDFWVZLWKWKHIRUXPVWDWHi.eZKHWKHULWSXUSRVHO\

 GLUHFWHGLWVDFWLYLWLHVWRZDUGWKHIRUXPVWDWHRUSXUSRVHIXOO\DYDLOHGLWVHOIRIWKHSULYLOHJHVRI

 FRQGXFWLQJDFWLYLWLHVWKHUH  ZKHWKHUWKHSODLQWLII VFDXVHRIDFWLRQDULVHVRXWRIRUUHVXOWVIURP

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 IDLUDQGUHDVRQDEOH´Monkton Ins. Services)GDW FLWDWLRQRPLWWHG 3ODLQWLIIVEHDU


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 WKHEXUGHQRIHVWDEOLVKLQJWKHILUVWWZRSURQJVRQO\LIWKH\DUHVXFFHVVIXOGRLQJVRGRHVWKH

 EXUGHQVKLIWWRGHIHQGDQWWRHVWDEOLVKWKDWMXULVGLFWLRQZRXOGVRPHKRZQRQHWKHOHVVEHXQIDLURU

 XQUHDVRQDEOHId.)XUWKHU³>Q@RUFDQWKHSODLQWLII VRZQFRQWDFWVZLWKWKHIRUXPEHXVHGWR

 GHPRQVWUDWHFRQWDFWVE\WKHGHIHQGDQW´Id. FLWDWLRQRPLWWHG 7KXVWKHEDUHIDFWWKDW'HIHQVH

 'LVWULEXWHGLVD7H[DVUHVLGHQWGRHVQRWFRQIHUMXULVGLFWLRQRYHUWKH1-$*RUWKH'$*See id.

       +HUHWKH)$&FRQWDLQVQRDOOHJDWLRQVWKDWWKH1-$*RUWKH'$*SXUSRVHO\GLUHFWHG

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 RIFRQGXFWLQJDFWLYLWLHVLQ7H[DV7RWKHFRQWUDU\WKH)$&FRQFHGHVWKDWWKH1-$*¶VDQGWKH

 '$*¶VDFWLYLWLHVZHUHNew JerseyDQGDelawareFHQWULFLQQDWXUH7KH1-$*¶VDQG'$*¶V

 RQO\DOOHJHGFRQWDFWVZLWK7H[DV²WKHWUDQVPLVVLRQRIFHDVHDQGGHVLVWOHWWHUVWR'HIHQVH

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 HQDEOH1HZ-HUVH\DQG'HODZDUHFLWL]HQVWRXQODZIXOO\SULQWZHDSRQVWKDWDUHLOOHJDOLQWKHLU

 UHVSHFWLYHVWDWHVQRWZLWKDQ\DFWLYLWLHVLQ7H[DVSee )$&DQG([KLELWV(+

       7KH)LIWK&LUFXLWGHFOLQHGWRILQGVSHFLILFMXULVGLFWLRQLQDFDVHZLWKVWULNLQJO\VLPLODU

 IDFWV,QStroman Realty, IncSODLQWLIID7H[DVEDVHGUHDOHVWDWHFRPSDQ\VXHGWKH

 &RPPLVVLRQHURIWKH$UL]RQD'HSDUWPHQWRI5HDO(VWDWHLQKHURIILFLDOFDSDFLW\VHHNLQJ

 LQMXQFWLYHDQGGHFODUDWRU\UHOLHIXQGHU86&DQGDOOHJLQJWKDWKHUUHJXODWRU\DFWLRQ

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 EXVLQHVV¶´ZLWKLQWKHVWDWHId.see also Levingston v. T G C Indus., Inc.1R&,9$




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 QRWKDYHSHUVRQDOMXULVGLFWLRQRYHUWKH$WWRUQH\*HQHUDORI7H[DVZKHUHSODLQWLII¶VFRPSODLQW

 IDLOHGWRGHPRQVWUDWHWKDWWKH$WWRUQH\*HQHUDORI7H[DVKDGWKHUHTXLVLWHPLQLPXPFRQWDFWV

 ZLWK/RXLVLDQD 

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 ODZHQIRUFHPHQWHIIRUWVWRSURWHFW1HZ-HUVH\DQG'HODZDUHUHVLGHQWVIURPLOOHJDODFWLYLWLHVLQ

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         )HGHUDO5XOHRI&LYLO3URFHGXUH E  JRYHUQVPRWLRQVWRGLVPLVVIRUODFNRIVXEMHFW

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 DGMXGLFDWH³FDVHV´DQG³FRQWURYHUVLHV´IHGHUDOFRXUWV³KDYHµQREXVLQHVV¶GHFLGLQJOHJDO

 GLVSXWHVRUH[SRXQGLQJRQODZLQWKHDEVHQFHRIVXFKDFDVHRUFRQWURYHUV\´Already, LLC v.

 Nike, Inc.86   FLWDWLRQRPLWWHG $VWKH6XSUHPH&RXUWKDVUHSHDWHGO\KHOG

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 KHUHDUHPRRW6WDQGLQJLVD³WKUHVKROGTXHVWLRQLQHYHU\IHGHUDOFDVHGHWHUPLQLQJWKHSRZHURI

 WKHFRXUWWRHQWHUWDLQWKHVXLW´Warth v. Seldin86  7RHVWDEOLVK$UWLFOH

 ,,,VWDQGLQJWKHSODLQWLIIPXVWVKRZfirstWKDWKHKDVVXIIHUHGDQ³LQMXU\LQIDFW´WKDWLV³µDQ

 LQYDVLRQRIDOHJDOO\SURWHFWHGLQWHUHVWZKLFKLV D FRQFUHWHDQGSDUWLFXODUL]HGDQG E DFWXDORU

 LPPLQHQWQRWFRQMHFWXUDORUK\SRWKHWLFDO¶´Wendt v. 24 Hour Fitness USA, Inc.)G

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 WKHUHPXVWEHD³FDXVDOFRQQHFWLRQEHWZHHQWKHLQMXU\DQGWKHFRQGXFWFRPSODLQHGRI²WKH

 LQMXU\KDVWREHµIDLUO\WUDFHDEOHWRWKHFKDOOHQJHGDFWLRQRIWKHGHIHQGDQWDQGQRWWKHUHVXOWRI

 WKHLQGHSHQGHQWDFWLRQRIVRPHWKLUGSDUW\QRWEHIRUHWKHFRXUW¶´Lujan86DW

 FLWDWLRQDQGDOWHUDWLRQVRPLWWHG Third³LWPXVWEHµOLNHO\¶DVRSSRVHGWRPHUHO\µVSHFXODWLYH¶

 WKDWWKHLQMXU\ZLOOEHµUHGUHVVHGE\DIDYRUDEOHGHFLVLRQ¶´Id. DW FLWDWLRQVRPLWWHG 

 3ODLQWLIIVKHUHFDQQRWPHHWDQ\RIWKHVHWKUHHUHTXLUHPHQWV

         $     3ODLQWLIIV+DYH1RW$OOHJHGDQ,QMXU\LQ)DFW

         3ODLQWLIIVDOOHJHWKDWWKH1-$*DQGWKH'$*DORQJZLWKWKHRWKHU'HIHQGDQWVHPEDUNHG

 RQDFRXUVHRIFRQGXFWDLPHGDW³FRHUFLYHO\´LQWHUIHULQJZLWK'HIHQVH'LVWULEXWHG¶VVXSSRVHG

 ULJKWWRGLVVHPLQDWHLWV'SULQWDEOHILUHDUPILOHVRQWKHLQWHUQHW DQGZLWK6$)¶VVXSSRVHGULJKW

 WRUHFHLYHVXFKILOHV LQYLRODWLRQRI3ODLQWLIIV¶&RQVWLWXWLRQDOULJKWVDQGFDXVLQJGDPDJHVLQ

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 HIIHFWLYHO\EORFNLQJ'HIHQVH'LVWULEXWHG¶VDELOLW\WROHJDOO\GLVVHPLQDWHWKHILOHVId.,Q

 HQMRLQLQJWKHIHGHUDOJRYHUQPHQW¶VSODQQHGPRGLILFDWLRQRIFHUWDLQDUPVH[SRUWUHJXODWLRQVWKH

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 $PHQGPHQWULJKWVDUHGZDUIHGE\WKHLUUHSDUDEOHKDUPVWKH6WDWHVDUHOLNHO\WRVXIIHULIWKH

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 FRPSUHKHQVLEOHODQJXDJHWREHUHDGRUIROORZHGE\KXPDQEHLQJVDWDOO7KH\VLPSO\

 FRPPXQLFDWHZLWKDQRWKHULQDQLPDWHREMHFWWRGLUHFWWKHPDQXIDFWXUHRIDGDQJHURXVZHDSRQ

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 ZHDSRQVLQWKHKDQGVRIDPRQJRWKHUVGRPHVWLFDEXVHUVDQGWHUURULVWVZKLFKXQGHUPLQHV

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         (YHQDVVXPLQJWKDW'HIHQVH'LVWULEXWHG¶V'SULQWDEOHILUHDUPVILOHVGLGTXDOLI\DV

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 Giboney v. Empire Storage & Ice. Co.86   UHIXVLQJWRH[WHQG)LUVW

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 ULJKWVDUHQRWXQOLPLWHGVSHFLILFDOO\KROGLQJWKDW³nothing in our opinion should be taken to cast

 doubt on . . . laws imposing conditions and qualifications on the commercial sale of arms´Id.

 DW HPSKDVLVDGGHG 7KH&RXUWDGGHG³:HLGHQWLI\WKHVHpresumptively lawful

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 /XQGVWURPBlocked from giving away 3D-printed gun blueprints, Texas man says he’s selling
 them instead7+(7(;$675,%81( $XJ 


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 UHJXODWRU\PHDVXUHVRQO\DVH[DPSOHVRXUOLVWGRHVQRWSXUSRUWWREHH[KDXVWLYH´Id. Q

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 ODZVUHJXODWLQJWKHPDQXIDFWXUHDQGVDOHRIILUHDUPVSee,H.g., Nat’l Rifle Ass’n of Am., Inc. v.

 Bureau of Alcohol, Tobacco, Firearms, and Explosives)G WK&LU 

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 SURKLELWHGIRUFRQYLFWHGFULPLQDOVDQGWKRVHZKRDUHGUXJGHSHQGHQWRUPHQWDOO\LOO VSHFLILFDOO\

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